             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 1 of 24



OUTTEN & GOLDEN LLP
Ossai Miazad
Christopher McNerney
Elizabeth V. Stork
685 Third Avenue, 25th Floor
New York, New York 10017


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NEW YORK



   GEORGE MANDALA and CHARLES
   BARNETT, individually and on
   behalf of all others similarly situated,                           18-cv-6591
                                                           Case No. __________________

                                   Plaintiffs,             CLASS ACTION COMPLAINT

            v.                                             Jury Trial Demanded
   NTT DATA, INC.,

                                   Defendant.



       Plaintiffs George Mandala (“Mandala”) and Charles Barnett (“Barnett”) (together,

“Plaintiffs”), individually and on behalf of all others similarly situated, allege, upon personal

knowledge as to themselves and upon information and belief as to other matters, as follows:

                                SUMMARY OF THE CLAIMS

       1.        NTT Data, Inc. (“Defendant” or “NTT”), one of the largest information

technology (“IT”) services providers in the world, rejects job applicants with criminal records,

even where the criminal history has no bearing on the applicant’s ability to perform the job.

Because this practice perpetuates gross racial disparities in the criminal justice system, it is

unlawful under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq

(“Title VII”).
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 2 of 24



       2.      Plaintiffs allege that Defendant has in the past and continues to utilize a job

applicant screening process that systematically eliminates qualified African American applicants

based on their race, color or national origin in violation of Title VII. Plaintiffs further allege that

NTT violated their rights and the rights of those similarly situated under the New York Human

Rights Law, N.Y. Exec. Law § 290 et seq. (“NYHRL”), Article 23-A of the New York State

Correction Law, N.Y. Corr. Law § 750 et seq. (“Correction Law”), and the New York State Fair

Credit Reporting Act (“NY FCRA”), N.Y. Gen. Bus. Law § 380 et seq.

       3.      Plaintiffs sought employment at NTT, were qualified for the jobs for which they

applied, and received offers of employment from NTT. NTT withdrew each of Plaintiffs’ job

offers, however, due to their past criminal history.

       4.      Plaintiffs were denied job opportunities based on NTT’s policy and practice of

denying job opportunities to individuals with certain criminal convictions including felonies (or

similar criminal classifications).

       5.      In addition, NTT’s denial of employment to job applicants based on criminal

history, without first evaluating the factors laid out in the Correction Law, is a violation of the

NYHRL.

       6.      Because African Americans interact with the criminal justice system at much

higher rates than Whites, NTT’s policy and practice of denying individuals with convictions job

opportunities creates a disparate impact on African Americans in violation of Title VII.

       7.      NTT’s policy and practice of denying individuals with criminal convictions job

opportunities is not “job related . . . and consistent with business necessity,” 42 U.S.C. § 2000e-

2(k)(1)(A)(i), because it does not have a “demonstrable relationship to successful performance of




                                                  2
                 Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 3 of 24



the jobs for which [the policy] used,” Griggs v. Dukes Power, Co., 401 U.S. 424, 431(1971), and

is otherwise an invalid screening device rendering it improper under Title VII and the NYHRL.

        8.        Through this lawsuit, Plaintiffs will show that the conduct outlined in their

Complaint constitutes unlawful discrimination and clearly violates the stated public policy of

New York and the Unites States to remove barriers to employment for thousands of persons who

have paid the penalties for any crimes they may have committed.

                                   JURISDICTION AND VENUE

        9.        This Court has jurisdiction over Plaintiffs’ Title VII claims pursuant to 28 U.S.C.

§ 1331. This Court also has jurisdiction over Plaintiffs’ NYHRL and NY FCRA claims pursuant

to 28 U.S.C. § 1367 (supplemental jurisdiction).

        10.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events and omissions giving rise to the claims alleged herein occurred in

this District.

        11.       This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.

§§ 2201 and 2202.

        12.       Plaintiffs have exhausted their administrative remedies and complied with all

statutory prerequisites to their Title VII claims. Plaintiff Mandala filed a charge of

discrimination, individually and on behalf of individuals similarly situated with the Equal

Employment Opportunity Commission (“EEOC”) on June 2, 2017. By notice dated May 17,

2018, the EEOC issued a Notice of Right to Sue. This Complaint is filed within ninety days of

the Notice of Right to Sue. Under the Second Circuit’s application of the single-filing rule, Mr.

Barnett may “piggy-back” on Mr. Mandala’s previous filing, because Mr. Mandala’s EEOC

charge relates to the same claims that Mr. Barnett asserts.



                                                    3
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 4 of 24



                                            PARTIES

Plaintiffs

       13.     Plaintiffs and the proposed Class Members they seek to represent are each

“persons,” “individuals,” “consumers,” and “applicants for employment” within the meaning of

the NYHRL, the NY FCRA and Title VII.

       14.     Plaintiffs have criminal convictions.

       15.     Plaintiff Mandala is a resident of Rochester, New York.

       16.     Plaintiff Mandala is African American.

       17.     Plaintiff Barnett is a resident of Frankfort, Kentucky.

       18.     Plaintiff Barnett is African American.

Defendant

       19.     NTT is a global IT services company that employs over 110,000 people

worldwide, including approximately 18,000 employees in North America.

       20.     At all relevant times, NTT has been an employer as defined by Title VII and the

NYHRL, and a private employer as defined by the Correction Law.

       21.     At all relevant times, NTT has been aware of the requirements of the NY FCRA,

and yet has disregarded those requirements.

       22.     At all relevant times, NTT has been a “person, firm, corporation or other entity”

requesting “consumer reports” of Plaintiffs and proposed Class Members for “employment

purposes” and have taken “adverse action” against Plaintiffs and similarly situated applicants, as

defined by the NY FCRA, for example by preventing them from explaining or challenging their

rejections of employment. These adverse actions have been based wholly or in part on those

consumer reports.



                                                 4
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 5 of 24



                                    STATEMENT OF FACTS

George Mandala

       23.    In or around January or February of 2017, Mr. Mandala applied for a job as a

Salesforce Developer with NTT.

       24.    Mr. Mandala had two telephone interviews with NTT employees, during which

the NTT employees asked him technical questions related to the position and he answered

competently, based on his years of applicable work experience.

       25.    Mr. Mandala successfully completed his two telephone interviews and supplied

NTT with professional references.

       26.    NTT subsequently told Mr. Mandala that he would be working at a company

based in Wellesley, Massachusetts, though he would be working remotely based out of his home

in Rochester, New York.

       27.    NTT sent Mr. Mandala a formal offer letter on March 22, 2017, signed by Patricia

Price, a Senior Recruiter with NTT, offering Mr. Mandala a job as an Application Software

Development Senior Principal Consultant.

       28.    The offer letter stated that NTT’s “management team was impressed with [Mr.

Mandala’s] credentials and experience,” and that Mr. Mandala would “work out of NTT

DATA’s remote home office to begin on April 3, 2017.”

       29.    Mr. Mandala accepted NTT’s offer of employment via correspondence dated

March 23, 2017.

       30.    Mr. Mandala authorized a background check pursuant to NTT’s policy, and NTT

obtained a criminal background check on Mr. Mandala from a consumer reporting agency.

       31.    On March 30, 2017, Mr. Mandala attended a pre-orientation telephone call with



                                               5
                Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 6 of 24



other new employees.

          32.    On the same day, Mr. Mandala received an e-mail from Patricia Price, asking

“Could you give me a call to discuss your background check?”

          33.    Mr. Mandala called Ms. Price and Ms. Price informed Mr. Mandala that NTT had

a policy not to hire persons with felonies on their records.

          34.    Mr. Mandala then received a letter from NTT, signed by Ms. Price, dated April 6,

2017, which stated that NTT was withdrawing Mr. Mandala’s job offer, and that “[t]his action

was influenced by information contained in a consumer report, made at [NTT’s] request and

provided by . . . ASURINT[.]”

          35.    During the interview process, and afterwards, NTT never sought or considered

information from Mr. Mandala which would enable it to fully evaluate the factors laid out in

Section 753 of the Correction Law. For example, after reviewing Mr. Mandala’s background

check, NTT never asked Mr. Mandala for information regarding the circumstances of his

convictions or evidence of Mr. Mandala’s rehabilitation or good conduct. Furthermore, NTT’s

action was indicative of a policy and practice of denying job opportunities to individuals with

criminal convictions, which does not permit NTT to fully evaluate the factors laid out in Section

753 of the Correction Law.

          36.    NTT never provided Mr. Mandala with a copy of Article 23-A of the Correction

Law as required by N.Y. Gen. Bus. Law § 380-g(d).

          37.    On June 2, 2017, Mr. Mandala filed a Charge of Discrimination with the EEOC

based on NTT’s denial of employment. Ms. Mandala’s Charge was filed with the EEOC’s

Buffalo, New York office. On May 17, 2018, the EEOC issued Mr. Mandala a Notice of Right

to Sue.



                                                  6
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 7 of 24



Charles Barnett

       38.     In or around July 2017, NTT contacted Mr. Barnett regarding an opportunity to

work on a contract with the Commonwealth of Kentucky as a web developer. Mr. Barnett said

that he would be interested in the position and signed a “Right to Represent” form agreeing that

NTT could present him to the Commonwealth of Kentucky for the position.

       39.     Mr. Barnett understood that the job to which he applied would involve designing

websites for the Kentucky Department of Education, though he would be an employee of NTT.

       40.     After several phone calls with Katie Sargent, an NTT recruiter who collected Mr.

Barnett’s application information, Mr. Barnett had a phone interview with Mark McChesney, the

NTT project director, and another NTT employee, Fonyam Atanga.

       41.     The interview was successful and Mr. Barnett advanced to the next round.

       42.     Mr. Barnett had an in-person interview with NTT employee Mr. Atanga, and this

interview was also successful.

       43.     After Mr. Barnett’s in-person interview, Ms. Sargent told Mr. Barnett he had

received an offer of employment, and she sent Mr. Barnett an offer of employment via email,

which Mr. Barnett accepted.

       44.     Mr. Barnett authorized a background check pursuant to NTT’s policy.

       45.     NTT obtained a criminal background check on Mr. Barnett from a consumer

reporting agency.

       46.     After the background check was completed, Ms. Sargent informed Mr. Barnett via

phone that NTT was withdrawing its offer of employment to Mr. Barnett as a result of Mr.

Barnett’s convictions.

       47.     NTT provided Mr. Barnett with a “Right-To-Represent” contracts for other open



                                                7
               Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 8 of 24



positions, which he signed.

       48.      Mr. Barnett subsequently sought to apply for other positions with NTT, but

several weeks after he sought to apply for these positions, Ms. Sargent informed Mr. Barnett that

NTT would not submit Mr. Barnett’s profile for other positions because of his felony

convictions.

       49.      Notably, after the convictions at issue but prior to applying to NTT, Mr. Barnett

was an employee of the Commonwealth of Kentucky for approximately four years, performing

IT work and project coordination as an Administrative Specialist.

       50.      Also after the convictions at issue and prior to applying to NTT, Mr. Barnett

achieved a Masters of Science in Computer Science Technology and an Associate degree in

Applied Science/Computer Programming. Previously, Mr. Barnett had also obtained a Bachelor

of Science degree in Agricultural Economics.

       51.      During the interview process, and afterwards, NTT never sought or considered

information from Mr. Barnett regarding the circumstances of his convictions or evidence of Mr.

Barnett’s rehabilitation or good conduct. Furthermore, NTT’s action was indicative of a policy

and practice of denying job opportunities to individuals with criminal convictions, a policy and

practice that does not permit NTT to consider the factors outlined by the 2012 EEOC

Enforcement Guidance on the Consideration of Arrest and Conviction Records in Employment

Decisions under Title VII of the Civil Rights Act of 1964.

Factual Allegations Common to All Class Members

Title VII Claim

       52.      NTT’s policy and practice of denying job opportunities to individuals with non-

job related convictions had and continues to have a significant and detrimental impact on African



                                                 8
              Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 9 of 24



Americans, based on their race, color and/or national origin, as compared to White applicants.

African Americans are arrested and incarcerated for crimes at higher rates than Whites, relative

to their share of the national population. 1

        53.     As of 2010, 40% of U.S. prisoners were African American, although African

Americans represented only 13% of the overall U.S. population. 2 Projections based on recent

trends in incarceration estimate that one out of every three African American males born today

will go to prison, compared to just one out of every seventeen White males. 3

        54.     Compounding the racial disparities in criminal arrests and convictions is proven

employer bias against people with criminal records. For example, audit studies conducted by

researchers at Harvard and Princeton Universities found that African Americans with criminal

records were particularly disadvantaged in the job market when compared to Whites with

criminal records. 4



1
        See U.S. Department of Justice, Federal Bureau of Investigation, Crime in the United
States 2016, Table 21A (Arrests by Race and Ethnicity), available at https://ucr.fbi.gov/crime-in-
the-u.s/2016/crime-in-the-u.s.-2016/topic-pages/tables/table-21 (showing 26.9% of arrests are of
Black or African American individuals, while 69.6% of arrests are of White individuals); U.S.
Census Bureau, Quick Facts, United States (2017), available at
https://www.census.gov/quickfacts/fact/table/US/PST045217 (showing Black or African
American individuals make up approximately 13.4% and Whites make up 76.6% of the United
States population). See also EEOC Enforcement Guidance on the Consideration of Arrest and
Conviction Records in Employment Decisions Under Title VII of the Civil Rights Act of 1964, at
9-10 (April 25, 2012) (national data showing Blacks arrested and convicted at higher rates than
Whites “supports a finding that criminal record exclusions have a disparate impact based on race
and national origin”).
2
        Leah Sakala, Breaking Down Mass Incarceration in the 2010 Census: State-by-State
Incarceration Rates by Race/Ethnicity, Prison Pol’y Initiative (May 28, 2014),
http://www.prisonpolicy.org/reports/rates.html.
3
        Marc Mauer, Addressing Racial Disparities in Incarceration, 91 Prison J. 87S, 88S
(2011), available at https://www.sentencingproject.org/wp-content/uploads/2016/01/Addressing-
Racial-Disparities-in-Incarceration.pdf.
4
        Devah Pager et al., Discrimination in a Low-Wage Labor Market: A Field Experiment, 74
Am. Soc. Rev. 777, 785-86 (2009); Devah Pager et al., Sequencing Disadvantage: Barriers to
Employment Facing Young Black and White Men with Criminal Records, 623 Annals Am. Acad.
                                                 9
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 10 of 24



       55.     Any selection device that has a disparate impact must have a “manifest

relationship to the employment in question.” Griggs v. Duke Power Co., 401 U.S. 424, 433

(1971). It must “be shown to be necessary to safe and efficient job performance to survive a

Title VII challenge.” Dothard v. Rawlinson, 433 U.S. 321, 331 n.14 (1977). A criminal record

exclusion is valid only when it “operates to effectively link specific criminal conduct, and its

dangers, with the risks inherent in the duties of a particular position.” EEOC Enforcement

Guidance on the Consideration of Arrest and Conviction Records in Employment Decisions

Under Title VII of the Civil Rights Act of 1964, at 14 (April 25, 2012).

       56.     NTT cannot show business necessity with respect to its policies and practices as

to screening applicants with criminal histories, including any blanket exclusions of individuals

with felony convictions.

       57.     NTT cannot show that its applicant screening policies and practices bear a

relationship to the employment in question.

       58.     For example, having a felony conviction is not an accurate proxy for determining

whether an applicant would be able to perform the duties of the job. Upon information and

belief, there are no reliable studies or empirical data to suggest that applicants with criminal

records are more likely to engage in terminable offenses. 5

       59.     NTT’s policy and practice of denying employment to individuals with criminal

histories, including felony convictions, is far too over-inclusive to meet the standards of job-

relatedness and consistency with business necessity.



Pol. & Soc. Sci. 195, 199 (2009); Devah Pager, The Mark of a Criminal Record, 108 AM. J.
SOC. 937, 955-61 (2003).
5
        See, e.g., Ian B. Petersen, Toward True Fair-Chance Hiring: Balancing Stakeholder
Interests and Reality in Regulating Criminal Background Checks, 94 Tex. L. Rev. 175, 187-88
(2015).
                                                 10
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 11 of 24



       60.     Upon information and belief, NTT does not have a process or policy to determine

whether individuals convicted of crimes have made positive changes in their lives such that they

no longer pose a risk to others. NTT’s policy and practice of banning individuals with certain

convictions from employment has effectively foreclosed applicants’ abilities to provide proof of

rehabilitation, such as documentation of successful participation in drug treatment programs,

educational achievements or relevant employment, or to submit certificates of relief from

disabilities, which in many states create a presumption of rehabilitation.

       61.     Upon information and belief, the policy and practice of rejecting individuals with

certain convictions has created significant barriers to employment that excluded many properly

qualified persons, including disproportionate numbers of African American applicants. There

are less discriminatory alternatives that would have better achieved any legitimate business

purpose.

       62.    Less discriminatory alternatives include, but are not limited to: (1) considering all

applicants with a record of conviction for a crime that by its nature does not pose a legitimate

threat to the public safety or risk of workplace misconduct; and (2) giving each individual with a

conviction a meaningful opportunity to demonstrate that he or she does not present a current

threat, including providing evidence of rehabilitation, an explanation of events leading to the

conviction, or information regarding other mitigating factors.

The NYHRL Article 23-A Claim

       63.     The NYHRL states “[i]t shall be an unlawful discriminatory practice” to “deny . .

. employment to any individual” based on a criminal conviction “when such denial is in violation

of the provisions of article twenty-three-A of the correction law.” N.Y. Exec. Law § 296(15).

       64.     Article 23-A of the Correction Law prohibits an employer from denying



                                                11
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 12 of 24



employment to any person by virtue of their criminal record unless the employer can meet its

burden of demonstrating one of two exceptions:

       (1) there is a direct relationship between one or more of the previous criminal
           offenses and the specific license or employment sought or held by the
           individual; or

       (2) the issuance or continuation of the license or the granting or continuation of
           the employment would involve an unreasonable risk to property or to the
           safety or welfare of specific individuals or the general public.

N.Y. Correct. Law § 752.

       65.      Article 23-A of the Correction Law further requires that before taking any adverse

action on the basis of a criminal record, the employer must consider all the following factors:

             (a) The public policy of this state, as expressed in this act, to encourage the
                 licensure and employment of persons previously convicted of one or more
                 criminal offenses.

             (b) The specific duties and responsibilities necessarily related to the license or
                 employment sought or held by the person.

             (c) The bearing, if any, the criminal offense or offenses for which the person
                 was previously convicted will have on his fitness or ability to perform one
                 or more such duties or responsibilities.

             (d) The time which has elapsed since the occurrence of the criminal offense or
                 offenses.

             (e) The age of the person at the time of occurrence of the criminal offense or
                 offenses.

             (f) The seriousness of the offense or offenses.

             (g) Any information produced by the person, or produced on his behalf, in
                 regard to his rehabilitation and good conduct.

             (h) The legitimate interest of the public agency or private employer in
                 protecting property, and the safety and welfare of specific individuals or
                 the general public.

N.Y. Correct. Law § 753.

       66.      It is impossible for an employer to conduct the legally required evaluation of all
                                                  12
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 13 of 24



Article 23-A factors without first engaging in a conversation with the prospective candidate

before making an employment determination. See N.Y. Correct. Law § 753.

       67.     It is impossible for an employer to conduct the legally required evaluation of all

Article 23-A factors if the employer operates with a policy or practice of denying employment to

all individuals with criminal records, or with specific types of criminal convictions. See N.Y.

Correct. Law § 753.

       68.     For this reason, among others, the NYHRL forbids companies from denying

employment simply because a job applicant has a criminal record. Instead, companies must

engage in an evaluation of the factors outlined in the Correction Law before making an

employment determination.

       69.     Despite knowing of its obligations under the NYHRL, NTT has denied, and

continues to deny, employment to job applicants with certain convictions, without undertaking

the inquiry required by New York Law.

       70.     For example, although not a subject to this suit, the New York City Commission

on Human Rights’ guidance about the recently enacted Fair Chance Act is helpful in illuminating

the Article 23-A analysis. See https://www1.nyc.gov/site/cchr/law/fair-chance-act.page. That

guidance explains that “[e]mployers must carefully conduct the Article 23-A analysis.” Id. This

means that “[o]nce an employer extends a conditional offer and learns of an applicant’s criminal

record, it must solicit the information necessary to properly consider each Article 23-A factor,

including the applicant’s evidence of rehabilitation.” Id. By denying employment to job

applicants before soliciting such information, NTT violated Article 23-A and therefore violated

the NYHRL.

       71.     NTT has acted consciously in breaching its known duties and depriving Plaintiff



                                                13
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 14 of 24



Mandala and other job applicants of their rights under the NYHRL and the Correction Law.

       72.     At a minimum, NTT’s conduct has been reckless in failing to make an appropriate

inquiry to ascertain its obligations under the NYHRL and the Correction Law.

       73.     The ability to find employment is an essential aspect of reentering society for

people with criminal histories. Recidivism declines when those individuals have viable

employment prospects and other stabilizing resources in their communities. NTT’s policy of

discriminating against individuals with criminal records frustrates such public policy objectives.

The NY FCRA Claim

       74. The NY FCRA requires that:

       When a consumer reporting agency provides a consumer report that contains
       criminal conviction information, permitted by paragraph one of subdivision (a) of
       section three hundred eighty-j of this article, to a user, the person, firm,
       corporation or other entity requesting such report shall provide the subject of such
       report a printed or electronic copy of article twenty-three-A of the correction law
       governing the licensure and employment of persons previously convicted of one
       or more criminal offenses.

N.Y. Gen. Bus. Law § 380-g(d).

       75.     “The public policy of [New York] state, as expressed in [its Correction Law], [is]

to encourage the licensure and employment of persons previously convicted of one or more

criminal offenses.” N.Y. Correct. Law § 753(1)(a).

       76.     Consistent with the public policy of New York, in 2008 the New York Legislature

added Section 380-g.

       77.     The purpose of this requirement is to inform individuals with criminal records of

their rights and remedies under the law and for employers to be informed of their obligations

under the law in order to avoid illegal discrimination.

       78.     For example, the New York State Assembly’s Memorandum in Support of the

Legislation stated, in part: “Once [criminal history information] is obtained, employers have

                                                14
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 15 of 24



repeatedly dismissed qualified applicants and terminated employees based solely on their

criminal histories, even if there is no direct relationship between the criminal offense(s) and the

job and no unreasonable risk to the safety to the public or property, the criteria upon which an

employer can deny a job to an applicant or terminate an existing employee. The enactment of

this bill will help ensure that employers and prospective employees are informed about the

mandates of Article 23-A of the correction law. This will help to avoid illegal discrimination

against persons with a criminal conviction.” N.Y.S. Assembly’s Memorandum in Support of the

Legislation, Bill No. 10288A, 2007-2008 Term (emphasis added).

       79.     Upon information and belief, NTT has routinely and systematically failed to

provide Plaintiff Mandala and other job applicants with a copy of Article 23-A of the Correction

Law, as required under the law.

       80.     This has caused Plaintiff Mandala and other job applicants concrete harm because

it has denied them an opportunity to learn of their rights under Article 23-A of the Correction

Law and created the risk of future harm.

       81.     For example, as discussed above, under the Correction Law, NTT cannot deny

employment to an individual “when such finding is based upon the fact that the individual has

previously been convicted of one or more criminal offenses, unless” NTT shows “a direct

relationship” between the conviction(s) and the job or “an unreasonable risk to property or to the

safety or welfare of specific individuals or the general public.” N.Y. Correct. Law § 752.

       82.     Instead, NTT must consider all eight factors laid out in Section 753 of the

Correction Law and whether the individual has a certificate of relief from disabilities or a

certificate of good conduct. N.Y. Correct. Law § 753.

       83.     In turn, Section 754 of the Correction law allows an individual “previously



                                                 15
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 16 of 24



convicted of one or more criminal offenses” to request a written explanation for the employer’s

denial of employment, which the employer is required to provide within 30 days of the request—

providing applicants with crucial information as to the basis for the job denial. N.Y. Correct.

Law § 754.

       84.     NTT’s failure to provide Plaintiff Mandala and other job applicants with a copy of

Article 23-A of the Correction law denied them information about their legal right to be free

from discrimination and remedies for that discrimination once it had occurred.

       85.     NTT’s failure to provide this information also created the risk that Plaintiff

Mandala and other job applicants would fail to seek to vindicate their right to be free from

discrimination—either from NTT’s denial of employment or the denial of employment by

another employer.

       86.     NTT’s violation of the NY FCRA frustrates New York’s public policy to increase

the employment of persons with criminal convictions. See N.Y. Correct. Law § 753(1)(a).

       87.     NTT has acted willfully in violating the requirements of the NY FCRA. NTT

knew or should have known about its obligations under the NY FCRA. These obligations are

well-established by the longstanding and plain language of the NY FCRA.

       88.     Despite NTT’s awareness of its legal obligations, it has acted recklessly and

willfully in breaching its known duties and depriving Plaintiff Mandala and other job applicants

of their rights under the NY FCRA.

                               CLASS ACTION ALLEGATIONS

       89.     Plaintiffs bring this case as a proposed Class action pursuant to Fed. R. Civ. P. 23

on behalf of themselves and three classes of persons (collectively, the “Classes”).

       90.     Plaintiffs bring this class action pursuant to Federal Rules of Civil Procedure

23(a), (b)(2), and/or (c)(4) seeking liability-phase injunctive and declaratory relief.
                                                 16
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 17 of 24



       91.     Plaintiffs also bring this class action pursuant to Federal Rules of Civil Procedure

23(a), (b)(3) and/or (c)(4) seeking backpay, monetary damages, and other make-whole relief.

       92.     Plaintiffs reserve the right to amend the definition of the Classes based on

discovery or legal developments.

       93.     Plaintiffs assert the First Cause of Action against NTT on behalf of the “Title VII

Disparate Impact Class,” defined as follows:

       Title VII Disparate Impact Class: All African American individuals who, from
       August 6, 2016, through the resolution of this action, were denied employment
       based in whole or in part because of NTT’s policy and practice of denying
       employment to individuals with criminal convictions.

       94.     Plaintiff Mandala asserts the Second Cause of Action against NTT on behalf of

the “NY Criminal History Discrimination Class” defined as follows:

       NY Criminal History Discrimination Class: All individuals who, from June 2,
       2014, through the resolution of this action, were denied employment based in
       whole or in part on their criminal record without NTT having performed a
       complete New York Correction Law Article 23-A analysis, as required by N.Y.
       Exec Law § 296(15).

       95.     Plaintiff Mandala asserts the Third Cause of Action against NTT on behalf of the

“NY FCRA Class” defined as follows:

       NY FCRA Class: All individuals who, from August 15, 2016, through the
       resolution of this action, had consumer reports requested about them by NTT and
       were not provided with a copy of Article 23-A of the Correction Law.

       96.     The members of the Title VII Disparate Impact Class, the NY Criminal History

Discrimination Class and the NY FCRA Class are collectively referred to as “Class Members.”

       97.     Plaintiffs reserve the right to amend the definition of above-defined classes based

on discovery or legal developments.

       98.     The Class Members identified herein are so numerous that joinder of all members

is impracticable. NTT is a large employer both in the United States and in New York, with


                                                17
             Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 18 of 24



18,000 employees in North America, and with over twenty offices in the United States including

four offices in New York State. The number of job applicants harmed by NTT’s violations of

the law is far greater than feasibly could be addressed through joinder. The precise number is

uniquely within Defendants’ possession, and Class Members may be notified of the pendency of

this action by published, mailed and/or e-mailed notice.

       99.     There are questions of law and fact common to Class Members, and these

questions predominate over any questions affecting only individual members. Common legal

and factual questions include, among others:

       (a)     Whether it was Defendant’s policy and practice to exclude job applicants
               with certain convictions who should have been eligible for employment
               based on valid factors assessing legitimate threat to public safety or risk of
               workplace misconduct;

       (b)     Whether Defendant’s policy and practice to exclude job applicants based
               on certain convictions had a discriminatory disparate impact on African
               Americans;

       (c)     Whether Defendant’s policy and practice to exclude job applicants based
               on their criminal history is job-related and consistent with business
               necessity;

       (d)     Whether there was a less discriminatory policy and practice that would
               have met Defendant’s legitimate needs;

       (e)     Whether Defendants violated the NYHRL and the Correction Law when
               denying employment to Plaintiffs and the NY Criminal History
               Discrimination Class;

       (f)     Whether Defendants violated the NY FCRA by failing to provide
               Plaintiffs and the NY FCRA Class with a copy of Article 23-A of the
               Correction Law, in violation of N.Y. Gen. Bus. Law § 380-g(d);

       (g)     Whether Defendants were willful in their noncompliance with the
               requirements of the NY FCRA;

       (h)     Whether compensatory damages and punitive damages for Class Members
               are warranted; and



                                                18
              Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 19 of 24



       (i)      Whether a declaratory judgement and/or injunctive relief is warranted
                regarding Defendants’ policies and practices.

       100.     Plaintiffs are members of the classes they seek to represent. NTT took

discriminatory adverse action against Plaintiffs based on their criminal histories.

       101.     Plaintiffs’ claims are typical of the claims of the classes they seek to represent: (1)

Each Plaintiff applied for a job with NTT within the relevant time period; (2) Each was subjected

to the same hiring process screening applicants for criminal histories; and (3) Each was denied

the position because of their criminal histories. All of these claims are shared by each and every

Class Member. Upon information and belief, it is NTT’s standard practice to take adverse

actions against applicants based on criminal convictions in a manner that is discriminatory and

inconsistent with business necessity and without properly considering the factors laid out in the

Correction Law for New York Class Members.

       102.     Plaintiffs will fairly and adequately represent and protect the interests of Class

Members because their interests coincide with, and are not antagonistic to, the interests of the

Class Members they seek to represent. Plaintiffs have retained counsel who are competent and

experienced in complex class actions, including litigation pertaining to criminal background

checks, the Correction Law, NY FCRA, disparate impact litigation, other employment litigation,

and the intersection thereof. There is no conflict between Plaintiffs and the Class Members.

       103.     Class certification is appropriate pursuant to Federal Rule of Civil Procedure

23(b)(2) because NTT has acted and/or refused to act on grounds generally applicable to the

Class Members, making declaratory and injunctive relief appropriate with respect to Plaintiffs

and the Class Members as a whole. The Class Members are entitled to injunctive relief to end

Defendant’s common, uniform, unfair discriminatory – and illegal – policies and practices.




                                                  19
              Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 20 of 24



       104.     Class certification is appropriate pursuant to Federal Rule of Civil Procedure

23(b)(3) because common questions of fact and law predominate over any questions affecting

only individual Class Members. For example, NTT has maintained a common policy of denying

employment to individuals with certain criminal convictions, which Plaintiffs contend is

discriminatory and unlawful. A class action is superior to other available methods for the fair

and efficient adjudication of this litigation. Class Members have been damaged and are entitled

to recovery as a result of Defendant’s uniform policies and practices. Because NTT has

maintained a common policy of denying employment to individuals with certain criminal

convictions but may not have explained that policy to all Class Members, many Class Members

may be unaware that their rights have been violated.

                                      CAUSES OF ACTION

                                 FIRST CLAIM FOR RELIEF
                                Disparate Impact Discrimination
               Title VII of the Civil Rights Act of 1964, 42 U.S.C §§ 2000e et seq.
               (On Behalf of Plaintiffs and the Title VII Disparate Impact Class)

       105.     Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

       106.     Named Plaintiffs bring this claim on their own behalf and on behalf of the Title

VII Disparate Impact Class.

       107.     Plaintiff Mandala timely filed a charge with the EEOC, with class-wide

allegations, and has thus exhausted the administrative remedies.

       108.     Plaintiff Barnett may “piggy-back” off the previous filing of Mr. Mandala,

because Mr. Mandala’s EEOC charge relates to the same claims that Mr. Barnett asserts.

       109.     Defendant’s policy and practice of denying employment opportunities to

individuals with criminal convictions has harmed, and continues to harm, Plaintiffs, and




                                                 20
              Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 21 of 24



constitutes unlawful discrimination on the basis of race, color, and/or national origin in violation

of 42 U.S.C. §§ 2000e et seq.

       110.     Defendant’s policy and practice of denying employment opportunities to

individuals with criminal convictions had a disparate impact on African Americans and is neither

job related nor consistent with business necessity. Even if Defendant’s policy and practice of

denying employment opportunities to individuals with criminal convictions could be justified by

business necessity, a less discriminatory alternative exists that would have equally served any

legitimate purpose.

       111.     Defendant’s conduct has caused, and continues to cause, Plaintiffs and the

members of the Title VII Disparate Impact Class losses in earnings and other employment

benefits.

       112.     Plaintiffs and the Title VII Disparate Impact Class also seek injunctive and

declaratory relief to correct Defendant’s discriminatory policies and practices.

                              SECOND CLAIM FOR RELIEF
                            Discriminatory Denial of Employment
          New York Human Rights Law and Article 23-A of the Correction Law
    (On Behalf of Plaintiff Mandala and the NY Criminal History Discrimination Class)

       113.     Plaintiff Mandala, on behalf of himself and the NY Criminal History

Discrimination Class, incorporate the preceding paragraphs as alleged above.

       114.     Defendant denied employment to Plaintiff Mandala and the NY Criminal History

Discrimination Class based in whole or in part on their criminal history.

       115.     Before denying employment to Plaintiff Mandala and the NY Criminal History

Discrimination Class, Defendant failed to conduct a proper inquiry into the factors outlined in

Article 23-A of the Correction Law, in violation of N.Y. Exec. Law § 296(15).




                                                 21
              Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 22 of 24



       116.       As a result of Defendant’s actions, Plaintiff Mandala and the NY Criminal

History Discrimination Class have been deprived of their rights and have lost employment

opportunities, earnings and other employment benefits.

       117.       Plaintiff Mandala and the NY Criminal History Discrimination Class also seek

injunctive and declaratory relief to correct Defendant’s discriminatory policies and practices.

                                  THIRD CLAIM FOR RELIEF
                         NTT’s Failure to Provide a Copy of Article 23-A
                                  N.Y. Gen. Bus. Law § 380-g(d)
                     (On Behalf of Plaintiff Mandala and the NY FCRA Class)

       118.       Plaintiff Mandala, on behalf of himself and the NY FCRA Class, incorporates the

preceding paragraphs as alleged above.

       119.       NTT violated the NY FCRA by procuring consumer reports from Plaintiff

Mandala and Class Members without providing them with a copy of Article 23-A of the

Correction Law.

       120.       NTT caused concrete injury (including the risk of harm) to Plaintiff Mandala and

the NY FCRA Class Members, including because they could not learn of their rights and

opportunities under the NY FCRA.

       121.       NTT acted willfully and in knowing or reckless disregard of its obligations and

the rights of Plaintiff Mandala and the NY FCRA Class.

       122.       NTT’s willful conduct is reflected by, among other things, the fact that it violated

a clear statutory mandate set forth in N.Y. Gen. Bus. Law § 380-g(d).

       123.       As a result of NTT’s actions, Plaintiff Mandala and the NY FCRA Class have

been deprived of their consumer rights, and prevented from timely and effectively contesting the

adverse action.




                                                   22
              Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 23 of 24



       124.     NTT’s willful and/or negligent conduct makes it liable for actual damages,

punitive damages, and attorneys’ fees and costs, in an amount to be determined by the Court

pursuant to N.Y. Gen. Bus. Law § 380-l and N.Y. Gen. Bus. Law § 380-m.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and Class Members pray for relief as follows:

                (a)    Certification of the case as a class action on behalf of the proposed
                       classes;

                (b)    Designation of Plaintiffs Mandala and Barnett as representatives of Class
                       Members;

                (c)    Designation of Plaintiffs’ counsel of record as Class Counsel;

                (d)    Restoring of Plaintiffs Mandala and Barnett and Class Members to their
                       rightful positions at NTT;

                (e)    An award of compensatory and/or punitive damages for violations of Title
                       VII;

                (f)    An award of compensatory and/or punitive damages for violations of the
                       NYHRL;

                (g)    An award of all actual damages awardable for violations of the NY FCRA
                       and all punitive damages for each violation found to be willful;

                (h)    An award of costs incurred herein, including reasonable attorneys’ fees to
                       the extent allowable by law;

                (i)    Injunctive and/or declaratory relief to correct Defendants’ discriminatory
                       policies and practices;

                (j)    Pre-judgment and post-judgment interest, as provided by law;

                (k)    Payment of a reasonable service award to Plaintiffs, in recognition of the
                       services they have rendered and will continue to render to Class Members,
                       and the risks they have taken and will take; and

                (l)    Such other and further legal and equitable relief as this Court deems
                       necessary, just and proper.

                                         JURY DEMAND

       Plaintiffs demand a trial by jury in this action.

                                                 23
          Case 6:18-cv-06591 Document 1 Filed 08/15/18 Page 24 of 24



Dated: New York, New York
       August 15, 2018
                                    Respectfully submitted,

                                    By: /s/ Ossai Miazad
                                    OUTTEN & GOLDEN LLP
                                    Ossai Miazad
                                    Christopher M. McNerney
                                    Elizabeth V. Stork
                                    685 Third Avenue, 25th Floor
                                    New York, New York 10017
                                    Telephone: (212) 245-1000
                                    Facsimile: (646) 509-2060
                                    E-mail: om@outtengolden.com
                                    E-mail: cmcnerney@outtengolden.com
                                    E-mail: estork@outtengolden.com

                                    Attorneys for Plaintiffs and the Putative Classes




                                      24
